                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION-DETROIT

In Re:
                                                      Case No. 24-41956-mar
  BRANDON HEITMANN,                                   Chapter 13
                                                      Hon. Mark A. Randon - Detroit
         Debtor
                                                  /

                                   CERTIFICATE OF SERVICE
       Movant, Fifth Third Bank, N.A., filed a Motion for Relief from the Automatic Stay. A copy of the
Motion, with Exhibits, and Notice of Filing of Response Deadline were served upon, Debtor, Debtor's
Counsel, and the Chapter 13 Trustee by U.S. Mail or by electronic notification on June 14, 2024 to the
following parties:

Brandon Heitmann                                      Krispen S Carroll
607489 Forest Creek Dr                                719 Griswold, Suite 1100
Washington Twp, MI 48094                              Detroit, MI 48226
VIA U.S. MAIL                                         VIA CM/ECF NOTIFICATION

Robert N. Bassel
P.O. Box T
Clinton, MI 49236
VIA CM/ECF NOTIFICATION

                                                  Respectfully submitted,
Dated: June 14, 2024
                                                      /s/ James M. McArdle
                                                      James M. McArdle (P82443)
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